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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

Staluppi et all,

No. 1:20-cv-06132 (JSR)

Plaintiffs,
PROTECTIVE ORDER

EVR Foods, Inc. et ai,

Defendants.

 

 

JED S. RAKOFF, U.S5.D.d.

The parties having agreed to the following terms of
confidentiality, and the Court having found that good cause exists
for issuance of an appropriately tailored confidentiality order

governing the pre-trial phase of this action, it is therefore

hereby
ORDERED that any person subject to this Order -- including
without Limitation the parties to this action, their

representatives, agents, experts and consultants, all third
parties providing discovery in this action, and all other
interested persons with actual or constructive notice of this Order
~- shall adhere to the following terms, upon pain of contempt:

1. Any person subject to this Order who receives from any
other person any “Discovery Material” (i.e., information of any

kind provided in the course of discovery in this action) that is

 
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designated as “Confidential” pursuant to the terms of this Order
shall not disclose such Confidential Discovery Material to anyone
else except as expressly permitted hereunder.

2. The person producing any given Discovery Material may
designate as Confidential only such portion of such material as
consists of:

(a) previously nondisclosed financial information
(including without Limitation profitability reports or
estimates, percentage fees, design fees, royalty rates,
minimum guarantee payments, sales reports and sale
margins);

(b) previously nondisclosed material relating to
ownership or control of any non-public company;

(c) previously nondisclosed business pians, product
development information, or marketing plans;

(d) any information of a personal or intimate nature
regarding any individual; or

(e) any other category of information hereinafter given
confidential status by the Court.

3. With respect to the Confidential portion of any
Discovery Material other than deposition transcripts and exhibits,
the producing person or that person's counsel may designate such
portion as “Confidential” by stamping or otherwise clearly marking

as “Confidential” the protected portion in a manner that will not

 
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interfere with legibility or audibility, and by also producing for
future public use another copy of said Discovery Material with the
confidential information redacted. With respect to deposition
transcripts and exhibits, a producing person or that person's
counsel may indicate on the record that a question calls for
Confidential information, in which case the transcript of the
designated testimony shall be bound in a separate volume and marked
"Confidential Information Governed by Protective Order" by the
reporter.

4, tf at any time prior to the trial of this action, a
producing person realizes that some portion[s}] of Discovery
Material that that person previously produced without limitation
should be designated as Confidential, he may so designate by so
apprising all parties in writing, and such designated portion[s]
of the Discovery Material will thereafter be treated as
Confidential under the terms of this Order.

5. No person subject to this Order other than the producing
person shall disclose any of the Discovery Material designated by
the producing person as Confidential to any other person
whomsoever, except to;

(a) the parties to this action;
(b) counsel retained specifically for this action,
including any paralegal, clerical and other assistant

employed by such counsel and assigned to this matter;

 
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(c) as to any document, its author, its addressee, and
any other person indicated on the face of the document
as having received a copy;

(d) any witness who counsel for a party in good faith
believes may be called to testify at trial or deposition
in this action, provided such person has first executed
a Non-Disclosure Agreement in the form annexed as an
Exhibit hereto;

(e) any person retained by a party to serve as an expert
witness or otherwise provide specialized advice to
counsel in connection with this action, provided such
person has first executed a Non-Disclosure Agreement in
the form annexed as an Exhibit hereto;

(f) stenographers engaged to transcribe depositions
conducted in this action; and

(g} the Court and its support personnel.

6. Prior to any disclosure of any Confidential Discovery
Material to any person referred to in subparagraphs 5(d) or 5 {e)
above, such person shall be provided by counsel with a copy of
this Protective Order and shall sign a Non-Disclosure Agreement in
the form annexed as an Exhibit hereto stating that that person has
read this Order and agrees to be bound by its terms. Said counsel
shall retain each signed Non-Disclosure Agreement, hold it in

escrow, and produce it to opposing counsel either prior to such

 
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person being permitted to testify (at deposition or trial) or at
the conclusion of the case, whichever comes first.

7. All Confidential Discovery Material filed with the
Court, and all portions of pleadings, motions or other papers filed
with the Court that disclose such Confidential Discovery Material,
shall be filed under seal with the Clerk of the Court and kept
under seal until further order of the Court. The parties will use
their best efforts to minimize such sealing. In any event, any
party filing a motion or any other papers with the Court under
seal shall also publicly file a redacted copy of the same, via the
Court’s Electronic Case Filing system, that redacts only the
Confidential Discovery Material itself, and not text that in no
material way reveals the Confidential Discovery Material.

8. Any party who either objects to any designation of
confidentiality, or who, by contrast, requests still further
limits on disclosure (such as ‘attorneys’ eyes only” in
extraordinary circumstances), may at any time prior to the trial
of this action serve upon counsel for the designating person a
written notice stating with particularity the grounds of the
objection or request. If agreement cannot be reached promptly,
counsel for all affected persons will convene a joint telephone
Call with the Court to obtain a ruling.

9. All persons are hereby placed on notice that the Court

is unlikely to seal or otherwise afford confidential treatment to

 
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any Discovery Material introduced in evidence at trial, even if
such material has previously been sealed or designated as
Confidential. The Court also retains unfettered discretion
whether or not to afford confidential treatment to any Confidential
Document or information contained in any Confidential Document
submitted to the Court in connection with any motion, application,
or proceeding that may result in an order and/or decision by the
Court.

10. Each person who has access to Discovery Material that
has been designated as Confidential shall take all due precautions
to prevent the unauthorized or inadvertent disclosure of such
material.

11. If, din connection with this litigation, a party
inadvertently discloses information subject to a claim of
attorney-client privilege or attorney work product protection
(“Inadvertently Disclosed Information”), such disclosure shall not
constitute or be deemed a waiver or forfeiture of any claim of
privilege or work product protection with respect to the
inadvertently Disclosed Information and its subject matter.

12. If a disclosing party makes a claim of inadvertent
disclosure, the receiving party shall not thereafter review the
Inadvertently Disclosed Information for any purpose, except by
order of the Court. The receiving party shall, within five

business days, return or destroy all copies of the Inadvertently

 
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Disclosed Information, and provide a certification of counsel that
all such information has been returned or destroyed.

13. Within five business days of the notification that such
Inadvertently Disclosed Information has been returned or
destroyed, the disclosing party shall produce a privilege log with
respect to the Inadvertently Disclosed Information.

14, As with any information redacted or withheld, the
receiving party may move the Court for an Order compelling
production of the Inadvertently Disclosed Information. The motion
shall be filed under seal, and shall not assert as a ground for
entering such an Order the fact or circumstances of the inadvertent
production.

15, The disclosing party retains the burden of establishing
the privileged or protected nature of any Inadvertently Disclosed
Information. Nothing in this Order shall limit the right of any
party to request an in camera review of the Inadvertently Disclosed
Information.

16. This Protective Order shall survive the termination of
the litigation. Within 30 days of the final disposition of this
action, all Discovery Material designated as “confidential,” and
all copies thereof, shall be promptly returned to the producing
person, or, upon permission of the producing person, destroyed.

17. This Court shall retain jurisdiction over all persons

subject to this Order to the extent necessary to enforce any

 
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obligations arising hereunder or to impose sanctions for any

contempt thereof.

SO STIPULATED AND AGREED.

Kuchar Whe ved, tor Plaintiffs ‘s! James H. Moon for Defendants
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Dated: November 2, 2020 Dated: November 2, 2020

SO ORDERED.
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JED S. RAKOFF, U.S.D.J.

Dated: New York, New York
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

Staluppi et al.,
No. 1:20-cv-06132 (JSR)
Plaintiffs,
NON-DISCLOSURE AGREEMENT
Vv.
EVR Foods, Inc. et al.,
Defendants.
i, , acknowledge that I have read and

 

understand the Protective Order in this action governing the non-
disclosure of those portions of Discovery Material that have been
designated as Confidential. I agree that I will not disclose such
Confidential Discovery Material to anyone other than for purposes
of this litigation and that at the conclusion of the litigation I
will return all discovery information to the party or attorney
from whom I received it. By acknowledging these obligations under
the Protective Order, I understand that I am submitting myself to
the jurisdiction of the United States District Court for the
Southern District of New York for the purpose of any issue or
dispute arising hereunder and that my willful violation of any
term of the Protective Order could subject me to punishment for
contempt of Court.

Dated:

 

 
